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           EXHIBIT A-1
5/17/22, 2:07 PM                                                        Tarrant County - Civil
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                                  Civil Case and Transaction Information                                    05/17/2022 2:01 PM




    Court :        236        Case :       332949        Search     New Search         Show Service Documents ONLY


   Cause Number : 236-332949-22                                                               Date Filed : 04-07-2022
                GOLDMAN VISTA HOLDINGS LLC                                    OHIO SECURITY INSURANCE
                                                                       | VS |
                                                                              COMPANY
   Cause of Action : OTHER CIVIL, OTHER
   Case Status : PENDING
   File Mark Description                                                                          Assessed Fee Credit/Paid Fee

     04-07-2022       PLTF'S ORIG PET                                                                      $350.00
                                                                                                  N

     04-07-2022       PAYMENT RECEIVED trans #1                                                                         $213.00
                                                                                                  Y

     04-07-2022       PAYMENT PAID TO STATE trans #1                                                                    $137.00
                                                                                                  Y

     04-07-2022       COPIES - PAPER OR CONVERTED                                                           $10.00
                                                                                                  N

     04-07-2022       PAYMENT RECEIVED trans #4                                                                          $10.00
                                                                                                  Y

     04-07-2022       CIT Cert Mail-ISSUED ON OHIO SECURITY                                                 $83.00
                      INSURANCE COMPANY-On 04/12/2022                                            N Svc

     04-07-2022       PAYMENT RECEIVED trans #6                                                                          $83.00
                                                                                                  Y

     04-07-2022       JURY REQUESTED                                                                                       $0.00



     04-11-2022       COPIES - PAPER OR CONVERTED                                                             $1.00
                                                                                                  N



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5/17/22, 2:07 PM                                                    Tarrant County - Civil
                   Case 4:22-cv-00431-Y Document 1-2 Filed 05/18/22                          Page 3 of 3 PageID 10
     04-11-2022       PAYMENT RECEIVED trans #9                                                                      $1.00
                                                                                              Y

     05-02-2022       GREEN CARD - OHIO SECURITY                                                                     $0.00
                      INSURANCE CO

     05-16-2022       DEFN OHIO SECURITY INSURANCE CO.                                                               $0.00
                      ORIG ANS & AFFIRMATIVE DEFENSES TO
                      PLTF ORIG PET




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